 

AO 91 (Rev 8/01)

 

| United States District Court , MAY 30 2019
SOUTHERN _ DISTRICT OF TEXAS 2

 

 

MCALLEN DIVISION ~~ OWI T Bradley, Cheri,
UNITED STATES OF AMERICA . . ot
OY, - - - : ~ - CRIMINAL COMPLAINT
Adriana Michelle Tenorio . Principal: 7 Case Number:

YOB: | 1991 United States _ - . M-19-1241-M

(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

‘knowledge and belief. On or about May 28,2019 in. _— Hidalgo County, in
the Southen . ——s-_—séDistrict of ‘Texas . . defendants(s) did,

(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact that Francisco Aron Licona-Fuentes, a citizen and national of .
Honduras, Cesar Eduardo Ramirez and Marcela Isabel Ponce-Carbajal, citizens and nationals of El Salvador,
along with twenty-three (23) other undocumented aliens, for a total of twenty-six (26), who had entered the
United States in violation of law, concealed, harbored or shielded from detection or attempt to conceal; harbor,
or shield from detection such aliens in any place, including any building or means “of transportation, to wit: a

: residence located in McAllen, Texas,

 

in violation of Title 8 ‘United States Code, Section(s) 1324(a)(1)(A)(ili) | . FELONY
I further state that I am a(n) Border Patrol Agent and that this complaint is. based on the
following facts:

On May 16, 2019, Border Patrol Agents received information regarding a residence, located at 6013 N. 22" Street, McAllen, Texas,
being used to conceal, harbor, or shield from detection aliens illegally present in the United States. ;
On May 28, 2019, while Agents were conducting surveillance on said residence, ‘they observed the defendant, later identified as
Adriana Michelle TENORIO, closing the garage door and departing the residence in a red sedan. Shortly thereafter, a Hidalgo |

County Constable encountered the vehicle speeding and conducted, a traffic stop near the intersection of Polk Ave. and N. Jackson
Rd. in Pharr, Texas.

SEE ATTACHED

 

 

Continued on the attached sheet and made a part of this complaint: [X]Yes [__]No -
veh A Foro Sh 9 be
Y so/to (7. we C (oe
. Sigrfature of Complainant :
So Julio C. Pefia. _ Border. Patrol Agent
Sworn to before me and subscribed in my presence, ~ , Printed Name of Complainant a
May 30, 2019 3) SS ee —~at McAllen, Texas

 

 

Date VEZ
Peter E. Ormsby U.S. Magistrate Judge Coo ae

Name and Title of Judicial Officer. : Signature of Judicial Officer 7 /
Case 719-0 UATED STATES DISTRIER COURT °20°2 oF 2
SOUTHERN DISTRICT OF TEXAS.
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-19-1241-M

RE: Adriana Michelle Tenorio:

CONTINUATION:

Agents arrived at the scene of the traffic stop and identified the driver, TENORIO, as a United States citizen.
Upon questioning, TENORIO made an inconsistent:statement as to where she was coming from. After Agents
informed her of the surveillance, TENORIO then stated that she had dropped a person off, whom she didn’t
know, at the residence. Agents asked TENORIO for consent to search the house, but she told Agents she was
not the owner of said residence.

Agents proceeded to conduct a knock and talk at said residence, where a female, later identified as Marcela
Isabel Ponce-Carbajal, opened the door and exited the house to speak to the Agents. Ponce admitted-to being
illegally present in the United States and stated that there was about ten other subjects inside the house. After
observing multiple subjects through the open door, Agents asked the subjects if they could come outside to
answer some questions, to which they did. A total of twenty-five (25) additional subjects freely exited the
house to speak to the Agents, all of the subjects were determined to be illegally present in the United States.

TENORIO was read her Miranda Rights and all subjects, including the principal, were placed under arrest and
transported to the Border Patrol Station for processing.

‘PRINCIPAL:
Adriana Michelle TENORIO, a United States citizen, was advised of her Miranda Rights and initially agreed
to provide a sworn statement without the presence of an attorney.

TENORIO stated that she received a phone call from her friend, which asked her to pick up a person from a
‘bus station. TENORIO stated she did not know who the individual was but claimed that she was in contact

. With him through text messages. TENORIO stated that-she picked up a male subject at the bus station and

_ drove him to the aforementioned address. TENORIO stated that she believes the house belonged to her friend.
TENORIO then exercised her right to an attorney and the interview ceased.

MATERIAL WITNESS #1:
Francisco Aron Licona-Fuentes was read his Miranda Rights and agreed to provide a sworn statement without
an attorney.

Licona, a citizen of Honduras, stated his family made his smuggling arrangements and he was going to pay
$8,000 (USD) to be smuggled to Houston, Texas. Licona stated that he illegally crossed the river on a raft and
was picked up and taken to a house. Hours later, Licona stated that a female driving a red vehicle picked him

up and transported him to the stash house where he was later apprehended. Licona stated that the female asked. - ~

him where he was from, to which he answered he was from Honduras. Licona stated that upon arriving to the
house, the female subject opened the garage door, instructed him to go inside the house, and closed the garage
door. Licona stated that the same female dropped off more illegal aliens at the house and would also drop off

food for them. Licona also stated that the female instructed them to stay quiet, not to use their cell phones, and
to remain on the second floor of the stash house.

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SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-19-1241-M

RE: Adriana Michelle Tenorio

CONTINUATION:

Licona identified Adriana Michelle TENORIO, through an official CBP photo lineup, as the female driver
of the red vehicle who picked them up and dropped off food.

MATERIAL WITNESS #2:
Cesar Eduardo Ramirez was read his Miranda Rights and agreed to provide z a sworn statement without an
attorney.

Ramirez, a citizen of El Salvador, stated his friend made his smuggling arrangements and was charged
$5,700 (USD) to be smuggled to Houston, Texas. Ramirez stated that he crossed the river with a group of
ten people and two brush-guides. Ramirez stated they were picked up in a truck driven by a male subject.
The male subject then drove to a parking lot and instructed him and another member of his group to board a
red vehicle driven-by a female subject. The female subject then instructed them to write down their names ~
on a notebook. Ramirez stated the female then drove them to her house. Ramirez stated that upon arriving
to the house the female subject opened the garage door and ordered another female to give them food and
wash their clothes.

Ramirez identified Adriana Michelle TENORIO, through an official CBP photo lineup, as the female driver
who transported them and gave instructions to write down their names on a ledger.

MATERIAL WITNESS #3:

Marcela Isabel Ponce-Carbajal, a citizen and national of El Salvador, told Agents that she had recently
_ .crossed the river and admitted to being illegally present in the United States. Ponce will be held as a

material witness for this case.

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